
44 A.3d 654 (2012)
Eric R. LINDE, derivatively on behalf of Linde Enterprises, Inc.,
v.
Scott F. LINDE, Barbara Linde Bold, Lackawanna Land &amp; Energy Inc., Total Landscaping Inc., Linde International Inc., Pocono Consolidated Utilities Inc., Forest City Partnership, Allen Sorchek, John Piepoli, John Bold, and Linde Enterprises Inc.
Appeal of Scott F. Linde, Barbara Linde Bold, Linde Enterprises Inc., and Non-Parties BSL, Linde Corp. and McGrail Merkel Quinn &amp; Associates.
No. 100 MAP 2011.
Supreme Court of Pennsylvania.
Argued May 9, 2012.
Decided May 23, 2012.


*655 ORDER

PER CURIAM.
The appeal is dismissed as having been IMPROVIDENTLY GRANTED.
